                       Case 4:21-cr-00507-DC Document 1 Filed 05/10/21 Page 1 of 2
                                                                                                                                                   FILED
AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                                                 May 10, 2021
                                                                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                                                                            WESTERN DISTRICT OF TEXAS

                                                                                                                                                    Yvette Lujan
                                     UNITED STATES DISTRICT COURT                                                                        BY: ________________________________
                                                                                                                                                                 DEPUTY


                                                                        for the
                                                      Western District
                                                   __________ District of
                                                                       of Texas
                                                                          __________

                  United States of America                                   )
                             v.                                              )
                 Jarod Ricard MELANCON
                                                                             )          Case No.                PE:21-M -00515
                                                                             )
          Jarod Richard Melancon                                             )
                                                                             )
                                                                             )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    May 7, 2021                              in the county of                   Winkler                           in the
     Western           District of            Texas                   , the defendant(s) violated:

            Code Section                                                                    Offense Description
18 USC Section 2 (a)                                          Abeeted by others, Knowingly or Intentionally did Import from
                                                  Aided and abetted
21 USC Section 841 (a)(1)                         Mexico with the Intent to Distraibute to Another 1.1 kilograms / 1,057 grams
21 USC Section 952(a) & 960 (a)(1)                of crystal methamphetamine, a controlled substance.




         This criminal complaint is based on these facts:
See Attachement




         ✔ Continued on the attached sheet.
         ’


                                                                                                               Complainant’s signature

                                                                                                        Douglas McIntyre, Task Force Office
                                                                                                                Printed name and title




                                                         Complaint sworn to telephonically on
Date:             05/10/2021                             _______________
                                                         May 10, 2021      and signed electronically.
                                                         FED.R.CRIM.P. 4.1(b)(2)(A)
                                                                                                                  Judge’s signature

City and state:                          Alpine, Texas                                                           David B. Fannin
                                                                                                                Printed name and title



        Print                        Save As...                        Attach                                                                    Reset
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                                      ATTACHMENT

   1.) Jarod MELANCON

FACTS:

On May 7, 2021, Task Force Offices (TFOs) and Special Agents (SAs) of the Alpine Drug
Enforcement Administration (DEA), obtained a Federal Search Warrant issued by United States
Magistrate Judge David Fannin for room # 10 at the West Travel Inn, 239 Texas Highway 302 in
Kermit, Texas, within the Western District of Texas.

On the same date, DEA personnel, Investigator from Lea County, New Mexico, and Winkler
County Sheriff’s Office executed the search warrant on room # 10 at the West Travel Inn.

DEA personnel, identified Jarod Richard MELANCON, the only occupant of the room. DEA
personnel conducted a thorough search of the room and located approximately 464.3 grams of
suspected crystal methamphetamine and loaded 9 millimeter Springfield Armory bearing serial
number S3976034 in the night stand immediately next to the bed. DEA personnel also located
593.5 grams of suspected crystal methamphetamine in the freezer portion of a miniature
refrigerator located inside the room. Both bags yielded positive results for the properties and
characteristics of crystal methamphetamine.

MELANCON, was transported to the Winkler County Sheriff’s Office for further investigation.
Subsequently, MELANCON was presented with his Miranda Warning per DEA-13 Form.
MELANCON acknowledged his rights, endorsed his rights, waived his rights and agreed to
speak with investigators without the presence of an attorney.

MELANCON implicated himself, advising he aided in the importation of the crystal
methamphetamine from Mexico and possessed with the intent to distribute to another.




_________________________ May 10, 2020
Doug McIntyre, Task Force Officer
Drug Enforcement Administration




_____________________________
David B. Fannin
United States Magistrate Judge
